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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v.

RYAN SAMSEL : VIOLATIONS:

JAMES TATE GRANT > =: 18 U.S.C. §§ 231(a)(3), and 2

PAUL RUSSELL JOHNSON : (Civil Disorder)

STEPHEN CHASE RANDOLPH > =18 U.S.C. §§ 111(a)(1) and (b), and 2

JASON BENJAMIN BLYTHE :  (Assaulting, Resisting, or Impeding
: Certain Officers Using a Deadly or

Defendants. : Dangerous Weapon and Inflicting Bodily

: Injury)

18 U.S.C. §§ 111(a)(1) and (b), and 2
(Assaulting, Resisting, or Impeding
Certain Officers Using a Deadly or
Dangerous Weapon)
18 U.S.C. § 111(a)(1)
(Assaulting, Resisting, or Impeding
Certain Officers)
18 U.S.C. §§ 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)
18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)
18 U.S.C. §§ 1752(a)(4), (b)(I)(A),
(b)(1)(B), and 2
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon and
Resulting in Significant Bodily Injury)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in the Capitol
Grounds or Buildings)

: 400U.S.C. §§ 5104(e)(2)(F), and 2

; (Act of Physical Violence in the Capitol
Grounds or Buildings)
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18 U.S.C. §§ 1512(c)(2), and 2
(Obstruction of an Official Proceeding)
40 U.S.C. § 5104(e)(2)(C)
(Entering and Remaining in Certain
Rooms in the Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)
INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, JAMES
TATE GRANT, PAUL RUSSELL JOHNSON, STEPHEN CHASE RANDOLPH, and
JASON BENJAMIN BLYTHE, along with others known and unknown to the Grand Jury,
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers, that is, Officer C.E. and Officer D.C. and other officers from the United States Capitol
Police Department, lawfully engaged in the lawful performance of their official duties incident to
and during the commission of a civil disorder, which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Sections 231(a)(3), 2)
COUNT TWO
On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, JAMES
TATE GRANT, PAUL RUSSELL JOHNSON, STEPHEN CHASE RANDOLPH, and
JASON BENJAMIN BLYTHE, along with others known and unknown to the Grand Jury, using

a deadly or dangerous weapon, that is, a metal crowd control barrier, did forcibly assault, resist,

oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
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of any branch of the United States Government (including any member of the uniformed services),
that is, Officer C.E., an officer from the United States Capitol Police, while such person was
engaged in and on account of the performance of official duties, and where the acts in violation of
this section involved physical contact with the victim and the intent to commit another felony, and

where the acts inflicted bodily injury on Officer C.E.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon,
Inflicting Bodily Injury, and Aiding and Abetting, in violation of Title 18, United States
Code, Sections 111(a)(1) and (b) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, JAMES
TATE GRANT, PAUL RUSSELL JOHNSON, STEPHEN CHASE RANDOLPH, and
JASON BENJAMIN BLYTHE, along with others known and unknown to the Grand Jury, using
a deadly or dangerous weapon, that is, a metal crowd control barrier, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
that is, Officer D.C., an officer from the United States Capitol Police, while such person was
engaged in and on account of the performance of official duties, and where the acts in violation of

this section involved physica! contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon and
Aiding and Abetting, in violation of Title 18, United States Code, Sections 111(a)(1) and
(b) and 2)

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, STEPHEN CHASE
RANDOLPH did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer

and employee of the United States, and of any branch of the United States Government (including
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any member of the uniformed services), that is, Officer D.C., an officer from the United States
Capitol Police, while such person was engaged in and on account of the performance of official
duties, and where the acts in violation of this section involve physical contact with the victim and

the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, JAMES
TATE GRANT, PAUL RUSSELL JOHNSON, STEPHEN CHASE RANDOLPH, and
JASON BENJAMIN BLYTHE, along with others known and unknown to the Grand Jury, did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was temporarily visiting, without lawful authority to do so, and, during and in relation
to the offense, did use and carry a deadly and dangerous weapon, that is, a metal crowd control
barrier.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1)
and (b)(1)(A))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, JAMES
TATE GRANT, PAUL RUSSELL JOHNSON, STEPHEN CHASE RANDOLPH, and
JASON BENJAMIN BLYTHE, along with others known and unknown to the Grand Jury, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
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within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions and, during and in relation to the offense, did use and
carry a deadly and dangerous weapon, that is, a metal crowd control barrier.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections

1752(a)(2) and (b)(1)(A))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, JAMES
TATE GRANT, PAUL RUSSELL JOHNSON, STEPHEN CHASE RANDOLPH, and
JASON BENJAMIN BLYTHE, along with others known and unknown to the Grand Jury, did
knowingly engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was temporarily visiting, and,
during and in relation to the offenses, did use and carry a deadly and dangerous weapon, that is, a
metal crowd control barrier, and where the acts in violation of this section resulted in significant
bodily injury.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, Resulting in Significant Bodily Injury, and Aiding and Abetting,

in violation of Title 18, United States Code, Sections 1752(a)(4), (b)(1)(A), (b)(1)(B), and

2)

COUNT EIGHT

On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, JAMES

TATE GRANT, PAUL RUSSELL JOHNSON, STEPHEN CHASE RANDOLPH, and

JASON BENJAMIN BLYTHE, along with others known and unknown to the Grand Jury,

willfully and knowingly engaged in disorderly and disruptive conduct within the United States
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Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building or Grounds, in violation of Title 40, United
States Code, Section 5104(e)(2)(D))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, JAMES
TATE GRANT, PAUL RUSSELL JOHNSON, STEPHEN CHASE RANDOLPH, and
JASON BENJAMIN BLYTHE, along with others known and unknown to the Grand Jury,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings and Aiding and
Abetting, in violation of Title 40, United States Code, Section 5104(e)(2)(F) and 2)

COUNT. TEN

On or about January 6, 2021, within the District of Columbia and elsewhere, RYAN
SAMSEL, JAMES TATE GRANT, PAUL RUSSELL JOHNSON, STEPHEN CHASE
RANDOLPH, and JASON BENJAMIN BLYTHE, along with others known and unknown to
the Grand Jury, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL,
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers, that is Officers from the United States Capitol Police guarding the lower West Terrace,
lawfully engaged in the lawful performance of their official duties incident to and during the
commission of a civil disorder, which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT TWELVE
On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), while such officer or employee was engaged in and on account of the
performance of official duties, that is, an officer from the United States Capito! Police guarding
the lower West Terrace, and where the acts in violation of this section involved physical contact

with the officer and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Sections 111(a)(1))

COUNT THIRTEEN
On or about January 6, 2021, within the District of Columbia, JAMES TATE GRANT,
willfully and knowingly, and with the intent to disrupt the orderly conduct of official business,

entered and remained in a room in any of the Capitol Buildings set aside and designated for the
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use of either House of Congress and a Member, committee, officer, and employee of Congress,
and either House of Congress, and the Library of Congress, without authorization to do so.

(Entering and Remaining in Certain Rooms in the Capitol Building, in violation of
Title 40, United States Code, Section 5104(e)(2)(C))

COUNT FOURTEEN
On or about January 6, 2021, in the District of Columbia, JAMES TATE GRANT,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
